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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                        8:17CR286
                                     )
      vs.                            )
                                     )
BRIJIDO BELTRAN-RODELO, also         )                          ORDER
known as Toledo; JOHN F. HALLER III, )
ANA KARLA RODRIGUEZ-TORREZ,          )
FIDEL GIOVANNI AVILA-MONZON,
MATIAN ALFONSO CEBALLOS-             )
AGUIRRE, JESUS FRANCISCO             )
MONZON-MORENO, JUAN VEGA-DIAZ, )
MARCOS MONZON-RIVAS, DORA            )
MARIA ORTIZ-TORRES, and JOSE LUIS )
MURILLO,                             )
                  Defendants.        )


      This matter is before the court on the defendant Jose Murillo’s unopposed Motion
to Continue Trial [244]. Counsel needs additional time to conduct plea negotiations. For
good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [244] is granted, as follows:

      1. The jury trial, for all defendants, now set for September 17, 2018 is continued
         to October 22, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendants in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s date
         and October 22, 2018, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(6), (7)(A) & (B)(iv).

      DATED: August 20, 2018.

                                                BY THE COURT:

                                                s/ Michael D. Nelson
                                                United States Magistrate Judge
